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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA, Case:2:21-cr-20264

Judge: Hood, Denise Page
Plaintiff, MJ: Altman, Kimberly G.

Filed: 04-21-2021 At 12:59 PM—-

INDI USA V YLLLI DIDANI (L)

 

Vv.
Violations:
D-1 YLLI DIDANI, 21 U.S.C. §§ 841 and 846
Defendant.
/

INDICTMENT
THE GRAND JURY CHARGES:

COUNT ONE

21 U.S.C. §§ 841(a)(1) and 846
Conspiracy to Distribute Controlled Substances

D-1 YLLI DIDANI

L. From a date unknown to the Grand Jury, but no later than August 6,
2016, through the date of this Indictment, in the Eastern District of Michigan, and
elsewhere, defendant, YLLI DIDANI, knowingly and intentionally conspired and
agreed with other individuals, both known and unknown to the Grand Jury, to
distribute controlled substances; namely, 5 kilograms or more of a mixture or

substance containing a detectable amount of cocaine — a Schedule II controlled
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substance; all in violation of Title 21, United States Code, Section 841(a)(1),
(b)(1)(A)(ii), and 846.

MANNER AND MEANS

 

The manner and means used to accomplish the objectives of this conspiracy
include, among others, the following:

2. It was part of the conspiracy that YLLI DIDANI and others known
and unknown to the grand jury would plan and finance the distribution of
controlled substances while in the Eastern District of Michigan and elsewhere.

3. It was a further part of the conspiracy that YLLI DIDANI and others
known and unknown to the grand jury would and did use United States currency to
finance their accumulation and distribution of controlled substances.

4, It was a further part of the conspiracy that YLLI DIDANI and others
known and unknown to the grand jury would and did use telecommunication
facilities, including cellular telephones, to facilitate the distribution of controlled
substances.

5. It was a further part of the conspiracy that YLLI DIDANI and others
known and unknown to the grand jury would and did utilize residences in the
Eastern District of Michigan to plan their accumulation and distribution of

controlled substances.
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6. It was a further part of the conspiracy that YLLI DIDANI and others
known and unknown to the grand jury would and did utilize automobiles, aircraft,
and other means of transportation for purposes of obtaining and distributing
controlled substances.

OVERT ACTS

7. In furtherance of the conspiracy, YLLI DIDANI and others known:
and unknown to the grand jury, committed various overt acts, including but not
limited to the following:

(1) Between June 2016 and December 2017, in the Eastern District of
Michigan, Conspirator One provided several checks to Conspirator Two for the
purpose of purchasing bulk cocaine.

(2) Between June 2016 and December 2017, Conspirator Two cashed
these checks at pawn shops and gold exchange businesses located in the Eastern
District of Michigan.

(3)  Onor about June 9, 2016, in the Eastern District of Michigan, YLLI
DIDANI met with Conspirator Two for the purpose of receiving bulk U.S.
currency from Conspirator Two that was derived from the checks Conspirator One

provided to Conspirator Two.

 
 

 

 

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(4) Onor about June 9, 2016, in the Eastern District of Michigan, YLLI
DIDANI received over $100,000.00 in U.S. currency from Conspirator Two for the
purpose of purchasing bulk cocaine.

(5) Onor about December 21, 2017, Conspirator Two flew from the
Eastern District of Michigan to Washington D.C. in a private airplane owned by
Conspirator One for the purpose of providing YLLI DIDANI with bulk currency
derived from the checks Conspirator One provided to Conspirator Two.

(6) Onor about December 21, 2017, YLLI DIDANI met with Conspirator
Two in Washington D.C. where YLLI DIDANI received approximately
$450,000.00 in U.S. currency from Conspirator Two for the purpose of purchasing
bulk cocaine.

DRUG THRESHOLD

8. With respect to defendant YLLI DIDANI, the amount of controlled
substances involved in the conspiracy attributable to him as a result of his own
conduct, and the conduct of other conspirators reasonable foreseeable to him, is
five kilograms or more of a mixture or substance containing a detectable amount of
cocaine — a Schedule II controlled substance, in violation of Title 21, United States

Code, Sections 841(a)(1), (b)(1)(A)(ii), and 846.

 
 

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FORFEITURE ALLEGATION
9. The allegations contained in this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title
21, United States Code, Section 853 and Federal Rule of Criminal Procedure 32.2.
10. Pursuant to Title 21, United States Code, Section 853, upon
conviction of the Count One offense in violation of Title 21, United States Code,
Sections 841 and 846, the defendant, YLLI DIDANI, shall forfeit to the United
States of America any property constituting, or derived from, any proceeds
obtained, directly or indirectly, as a result of his offense and any property used, or
intended to be used, in any manner or part, to commit, or to facilitate the
commission of, the offense.
11. Substitute Assets: Ifthe property described above as being subject to
forfeiture, as a result of any act or omission of YLLI DIDANI:
a. Cannot be located upon the exercise of due diligence;
b. Has been transferred or sold to, or deposited with, a third party;
c. Has been placed beyond the jurisdiction of the Court;
d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be divided
without difficulty;

 
 

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the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461(c).

SAIMA S. MOHSIN
Acting United States Attorney

JULIE A. BECK
Chief, Drug Task Force Unit

CRAIG F. WININGER
Chief, Violent & Organized Crime Unit

S/Mark Bilkovic

MARK BILKOVIC

TIMOTHY P. MCDONALD
MICHAEL EL-ZEIN

Assistant United States Attorneys

Dated: April 21, 2021

THIS IS A TRUE BILL.

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

 
   

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United States District Court Criminal Case Cover £ Judge: Hood, Denise Page
Eastern District of Michigan Jude man ety | ns
Filed: 04-21-2021 At 12:59 ‘
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately ir INDI USAV YLLLI DIDANI ( )

 

| Companion Case Number:

 

 

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Case Title: USA v. Yili Didani
County where offense occurred: Wayne, Macomb, Oakland, and elsewhere UL

Offense Type: Felony. een. .
Indictment -- based upon p mplaint [Case number: 21-mj-30148]

 

 

 

 

Superseding to Case No: Judge:
Reason:
Defendant Name Charges Prior Complaint (if applicable)

 

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

  

April 21, 2021 me

 

 

Date Mark Bilkovic
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(313) 226-9623
Bar #: P48855

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same or related parties are
present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.
